          1:24-cv-01410-JEH-RLH     # 30       Filed: 05/19/25    Page 1 of 6
                                                                                          E-FILED
                                                                 Monday, 19 May, 2025 01:49:06 PM
                                                                     Clerk, U.S. District Court, ILCD

                      UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                            PEORIA DIVISION

MICHEAIL WARD,                                 )
                                               )
                   Plaintiff,                  )
                                               )
v.                                             ) Case No.: 1:24-cv-01410-JEH-RLH
                                               )
                                               )
RODNEY ALFORD, et al.,                         )
                                               )
                   Defendants.                 )

                                      Order
      This cause is before the Court on Plaintiff Micheail Ward’s motion for leave
to file an amended complaint.
                                           I
                                         A
      Plaintiff has filed the instant motion under Federal Rule of Civil Procedure
15(a)(2), seeking leave to file an Amended Complaint. In support of his motion,
Plaintiff notes that he is now represented by counsel. Plaintiff further states that
his attorney has obtained his (Plaintiff’s) medical records, which are voluminous.
Plaintiff argues that the Court should grant leave to him to file his proposed
Amended Complaint, which is attached to his motion, so that he may proceed on
“a single Amended Complaint at law that will adequately and thoroughly state
the relevant facts and allegations as well as detailing the basis for the relief
sought.” D/E 26.
                                               B
      Defendant Dr. Rodney Alford objects to Plaintiff’s motion. In his response,
Dr. Alford notes that, in the Merit Review Order, the Court dismissed Wexford

                                           1
          1:24-cv-01410-JEH-RLH      # 30       Filed: 05/19/25   Page 2 of 6




Health Sources, Inc., (Wexford) as a party Defendant because Plaintiff’s Original
Complaint failed to state a claim against Wexford upon which relief can be
granted. Dr. Alford argues that Plaintiff’s proposed Amended Complaint fails to
cure the defects noted by the Court in the Merit Review Order as it relates to
Plaintiff’s purported claim against Wexford. As such, Dr. Alford asserts that the
Court should deny Plaintiff’s motion.
      More specifically, Dr. Alford argues that Plaintiff has based his claim against
Wexford upon the doctrine of respondeat superior, but respondeat superior is not a
viable legal theory to bring a § 1983 claim against Wexford. In addition, Dr. Alford
contends that Plaintiff has, essentially, repeated the allegations against Wexford
that he averred in his Original Complaint and that the Court found were
insufficient to allow him to proceed against Wexford. Finally, Dr. Alford argues
that Plaintiff’s allegation that Wexford maintains a widespread policy or practice
of ignoring prisoners’ serious medical issues and a widespread policy or practice
of not referring the prisoners to specialists for timely consultations and treatment
cannot satisfy his pleading requirement because the law is clear that allegations
regarding a prisoner plaintiff’s own singular experience and course of treatment
do not state a claim upon which relief can be granted against a private corporation,
such as Wexford, under the United States Supreme Court’s holding in Monell v.
Department of Social Services of New York, 436 U.S. 658 (1978). Accordingly, Dr.
Alford asks the Court to deny Plaintiff’s motion for leave to file his proposed
Amended Complaint.
                                         II
                                         A
      Federal Rule 15(a)(2) authorizes the Court to allow amendments to
pleadings freely “when justice so requires.” Id. But the United States Supreme
Court has held that a district court may deny leave to amend when the movant

                                            2
           1:24-cv-01410-JEH-RLH      # 30       Filed: 05/19/25   Page 3 of 6




has demonstrated “undue delay, bad faith or dilatory motive . . ., repeated failure
to cure deficiencies by amendments previously allowed, undue prejudice to the
opposing party by virtue of allowance of the amendment, [or] futility of
amendment.” Foman v. Davis, 371 U.S. 178, 181 (1962).
                                                 B
      To proceed with a claim against a private medical corporation (such as
Wexford), Plaintiff must allege facts demonstrating that Wexford maintained a
policy, custom, or widespread practice attributable to the corporation that caused
a violation of his Constitutional rights. Shields v. Illinois Dept. of Corrections, 746
F.3d 782,786 (7th Cir. 2014) (citing Monell). “Liability may be based on (1) an
express policy that, when enforced, causes a constitutional deprivation; (2) a
widespread practice that, although not authorized by written law or express
policy, is so permanent and well-settled as to constitute a custom or usage with
the force of law; or (3) a constitutional injury caused by a person with final policy
making authority.” Taylor v. Wexford Health Sources, Inc., 2016 WL 3227310, * 4
(N.D. Ill. June 13, 2016) (citing McCormick v. City of Chicago, 230 F.3d 319, 324 (7th
Cir. 2000)).
                                                 C
      Here, allowing Plaintiff to file his proposed amended complaint would be
futile. Each of the arguments tendered by Dr. Alford as to why Plaintiff should not
be allowed to file his proposed Amended Complaint are correct. Therefore, it
would be futile to allow Plaintiff to file his proposed Amended Complaint because
it would immediately be subject to a successful motion to dismiss under Federal
Rule of Civil Procedure 12(b)(6).
      First, Dr. Alford is correct that respondeat superior is not a viable legal theory
upon which to hold Wexford liable in a § 1983 claim. E.g., Montano v. Wexford
Health Servs., Inc., 2025 WL 975818, * 1 (N.D. Ill. Mar. 31, 2025) (citing Shields, 746

                                             3
           1:24-cv-01410-JEH-RLH     # 30       Filed: 05/19/25   Page 4 of 6




F.3d at 790) (“[T]he law of this Circuit is clear that there is no respondeat superior
liability under § 1983.”). Plaintiff has indicated in his proposed Amended
Complaint that he is seeking to hold Wexford liable based upon the doctrine of
respondeat superior. Plaintiff cannot do so, and therefore, Plaintiff’s proposed
Amended Complaint fails to state a claim upon which relief can be granted against
Wexford.
      Second, Plaintiff’s allegations that Wexford maintained a policy that violated
his Constitutional rights are insufficient to allow him to proceed on a claim against
Wexford. Like his Original Complaint, Plaintiff’s proposed Amended Complaint
contains few factual allegations regarding the purpose of Wexford alleged
unconstitutional policy, why Wexford enacted the policy, etc. Therefore, Plaintiff’s
proposed Amended Complaint fails to state a claim against Wexford. E.g., Springs
v. Schwarz, 2017 WL 4130504, * 4 (N.D. Ill. Sept. 19, 2017) (dismissing Monell claim
that was “speculative, unsupported by any factual allegations, and contain[ed] no
facts regarding other inmates’ experiences”); Young v. Obaisi, 2015 WL 8013437, *
3 (N.D. Ill. Dec. 7, 2015) (dismissing Monell claim based on plaintiff’s “highly
speculative and extremely vague allegation against Wexford” regarding care only
plaintiff received); Arita v. Wexford Health Sources, Inc., 2016 WL 6432578, * 3 (N.D.
Ill. Oct. 31, 2016) (dismissing plaintiff’s “factually unsupported, boilerplate
allegation” regarding a general policy of ignoring inmates’ requests for medical
attention).
      In fairness, Plaintiff does aver in his proposed Amended Complaint that
Wexford maintained this alleged unconstitutional policy of delaying medical
treatment providing minimal treatment to inmates within the Illinois Department
of Corrections as a “cost-cutting” or as a “cost-saving” measure. But Plaintiff’s
general reference to saving costs does not satisfy Federal Rule 8’s plausibility
standard. Grieveson v. Anderson, 538 F.3d 763, 774 (7th Cir. 2008) (“One broad,

                                            4
           1:24-cv-01410-JEH-RLH     # 30       Filed: 05/19/25   Page 5 of 6




vague statement about an occurrence affecting other inmates in a detention facility
does not support the inference of a ‘widespread’ custom.”); Montague v. Wexford
Health Sources, Inc., 615 F. App'x 378, 379 (7th Cir. 2015) (holding opinion of
plaintiff and other inmates insufficient to establish policy of purposeful delay of
medical treatment).
      Third, Dr. Alford is correct that Plaintiff cannot sufficiently plead, as is
required by Monell, the existence of a widespread policy or practice of ignoring
prisoners’ serious medical issues and not referring them to specialists for timely
consultations and treatment based solely on allegations regarding his own
singular experience and course of treatment. E.g., Ballard v. Harmston, 2024 WL
942424, * 5 (N.D. Ill. Mar. 5, 2024) (dismissing widespread practice theory because
the plaintiff presented no evidence beyond his own experience); Winchester v.
Marketti, 2012 WL 2076375, * 4 (N.D. Ill. 2012) (“What is fatal to the Monell claims,
however, is that Plaintiff makes no attempt to plead a pattern of similar
constitutional violations with any degree of factual specificity.”); Jones v.
Feinerman, 2011 WL 4501405, * 6 (N.D. Ill. 2011) (dismissing a Monell claim because
plaintiff alleged deliberate indifference that was limited “only to him”). That is all
that Plaintiff has done in his proposed Amended Complaint. Therefore, it would
be futile to allow Plaintiff to file his proposed Amended Complaint.
IT IS, THEREFORE, ORDERED:
      1.     Plaintiff’s motion for leave to file an amended complaint [26] is
DENIED.
      2.     This matter is referred to United States Magistrate Judge L. Ronald
Hanna for the purpose of establishing a Scheduling Order pursuant to Federal
Rule of Civil Procedure 16.




                                            5
1:24-cv-01410-JEH-RLH   # 30       Filed: 05/19/25   Page 6 of 6




                                                            It is so ordered.



                  Entered: May 19, 2025



                 s/Jonathan E. Hawley

                   U.S. District Judge




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